    Case 17-31795           Doc 2423         Filed 02/23/22 Entered 02/23/22 07:32:27                Desc Main
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       FILED & JUDGMENT ENTERED
              Steven T. Salata


                  February 23 2022


         Clerk, U.S. Bankruptcy Court
        Western District of North Carolina
                                                                                    _____________________________
                                                                                              Laura T. Beyer
                                                                                      United States Bankruptcy Judge



                               UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION

    In re:                                                    Chapter 11

    BESTWALL LLC,1                                            Case No. 17-31795 (LTB)

                                 Debtor.

                  EX PARTE ORDER SHORTENING NOTICE WITH RESPECT TO
                                                MOTION TO SEAL

             This matter coming before the court on the Ex Parte Motion to Shorten Notice on Motion

to Seal [Dkt. No. 2419] (“the Motion to Shorten”) filed by the Official Committee of Asbestos

Claimants and Sander L. Esserman, as the legal representative for persons that have not yet

asserted an asbestos-related personal-injury claim against the above-captioned debtor but may in

the future assert such a claim; and the Court, having reviewed the Motion to Shorten and having

determined that good cause exists for the relief requested in the Motion to Shorten;

             IT IS HEREBY ORDERED THAT:

             1.      The Motion to Shorten is GRANTED.

             2.      The hearing with respect to the Motion to Seal (as defined in the Motion to Shorten)

and any objections thereto shall be held on February 24, 2022 at 9:30 a.m. before the Honorable


1
 The last four digits of the Debtor’s taxpayer identification number are 5815. The Debtor’s address is 100 Peachtree
Street, N.W., Atlanta, Georgia 30303.



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Laura T. Beyer in the United States Bankruptcy Court for the Western District of North Carolina,

Charlotte Division, Courtroom 2A, 401 West Trade Street, Charlotte, NC 28202.

         3.        Any objections to the Motion to Seal may be filed on or before February 23, 2022.



 This Order has been signed electronically.                        United States Bankruptcy Court
 The Judge’s signature and Court’s seal appear
 at the top of the Order




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